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                         UNITED STATES-DISTRICT COURT
                         MIDDLE DI$TRICT OF ALABAMA
                              EASIgRNIDNISION-1. ,

LAUREN PICKARD,

      Plaintiff,

v.
                                                  CASE NO.:    3: 19- cA)-- Jb0- S OA.)
SLM CORPORATION d/b/a
SALLIE MAE,

      Defendant.
                                      /

                   COMPLAINT AND DEMAND FOR JURY TRIAL

       Plaintiff, LALTREN PICKARD (hereinafter "Plaintiff'), sues Defendant, SLM

CORPORATION d/b/a SALLIE MAE (hereinafter "Defendant"), and in support thereof

respectfully alleges violations of the Telephone Consumer Protection Act,47 U.S.C. § 227

et seq.("TCPA”).

                                   INTRODUCTION

        1.     The TCPA was enacted to prevent companies like Defendant from

invading American citizen's privacy and to prevent abusive "robo-calls."

       2.      "Senator Hollings, the TCPA's sponsor, described these calls as 'the

scourge of modern civilization, they wake us up in the morning; they interrupt our dinner

at night; they force the sick and elderly out of bed; they hound us until we want to rip the

telephone out of the wall." 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably

intended to give telephone subscribers another option: telling the auto-dialers to simply

stop calling." Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242(11 th Cir. 2014).



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                            JURISDICTION AND VENUE

        3.     Jurisdiction and venue for purposes of this action are appropriate and

conferred by 28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves

violations of the TCPA.

        4.     Subject matter jurisdiction, federal question jurisdiction, for purposes of

this action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the

district courts shall have original jurisdiction of all civil actions arising under the

Constitution, laws, or treaties of the United States; and this action involves violations of

47 U.S.C. § 227(b)(1)(A)(iii). See Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748(2012)

and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242, 1249(11th Cir. 2014).

       5.      The alleged violations described herein occurred in Chambers County,

Alabama. Accordingly, venue is appropriate with this Court under 28 U.S.C.

§1391(b)(2), as it is the judicial district in which a substantial part of the events or

omissions giving rise to this action occurred.

                             FACTUAL ALLEGATIONS

       6.      Plaintiff is a natural person and citizen of the State of Alabama residing in

Chambers County, Alabama.

       7.      Plaintiff is the "called party." See Breslow v. Wells Fargo Bank, N.A., 755

F. 3d 1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242(11th

Cir. 2014).




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       8.      Defendant is a corporation with its principal place of business located at

300 Continental Drive, Newark, Delaware 19713, and which conducts business in the

State of Alabama.

       9.      Defendant called Plaintiff hundreds of times in an attempt to collect a debt

associated with private (not federally-backed) student loans.

       10.     Some or all of the calls Defendant made to Plaintiff s cellular telephone

number were made using an "automatic telephone dialing system" (hereinafter "ATDS")

which has the capacity to store or produce telephone numbers to be called, using a

random or sequential number generator (including but not limited to a predictive dialer)

or an artificial or pre-recorded voice; and to dial such numbers as specified by 47 U.S.0 §

227(a)(1)(hereinafter "auto-dialer calls").

       11.     Plaintiff will testify that she knew it was an auto-dialer because of the vast

number of calls she received and because she heard a pause when she answered her

cellular telephone before a voice came on the line, which is a cornmon indicator of the

use of an ATDS.

       12.     Additionally, Plaintiff frequently received pre-recorded voice mail

messages from Defendant. Each of these recorded messages contained the same content.

       13.     Plaintiff believes the calls were made using equipment which has the

capacity to store numbers to be called and to dial such numbers automatically.

       14.     Plaintiff is the subscriber, regular user and carrier of the cellular telephone

number(706)***-2408 and was the called party and recipient of Defendant's calls.




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        15.     Defendant placed an exorbitant number of automated calls to Plaintiffs

cellular telephone number(706) ***-2408 in an attempt to collect on a student loan.

        16.    The automated calls from Defendant are being initiated from telephone

numbers including, but not limited to: 844-559-1334; when that number is dialed, a pre-

recorded messages answers and identifies the number as belonging to Defendant.

        17.    In or around October of 2018, Plaintiff first instructed Defendant's

agent(s) to "stop calling" her cellular telephone as she could not afford to make her

payments and did not wish to receive further telephone calls.

        18.    Despite this clear and unequivocal request for the calls to stop, Defendant

continued to autodial Plaintiffs cellular telephone up to three (3) times per day, on back

to back days, without Plaintiffs express consent.

        19.    Plaintiff estimates that since she first revoked consent to receive

automated calls from Defendant, Defendant has called her cellular telephone over two

hundred (200)times using a combination of its auto-dialer and pre-recorded messages.

       20.     Defendant has a corporate policy to use an automatic telephone dialing

system or a pre-recorded or artificial voice to individuals just as they did to Plaintiffs

cellular telephone in this case.

       21.     Not one of Defendant's telephone calls placed to Plaintiff were for

"emergency purposes" as specified in 47 U.S.C. § 227(b)(1)(A).

       22.     Defendant willfully and/or lcnowingly violated the TCPA with respect to

Plaintiff when it continued to call her cellular telephone after she revoked any consent

Defendant may have had to call her using automated technology.



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       23.     From each and every call placed without express consent by Defendant to

Plaintiffs cellular telephone, Plaintiff suffered the injury of invasion of privacy and the

intrusion upon her right of seclusion.--

       24.     From each and every call without express consent placed by Defendant to

Plaintiffs cellular telephone, Plaintiff suffered the injury of the occupation of her cellular

telephone line and cellular telephone by unwelcome calls, rnaking the cellular telephone

unavailable for legitimate callers or outgoing calls while the cellular telephone was

ringing from Defendant's call.

       25.     From each and every call placed without express consent by Defendant to

Plaintiffs cellular telephone, Plaintiff suffered the injury of unnecessary expenditure of

her time. For calls she answered, the time she spent on the call was unnecessary as she

repeatedly asked for the calls to stop. Even for unanswered calls, Plaintiff had to waste

time to unlock the cellular telephone and deal with missed call notifications and call logs

that reflect the unwanted calls. This also impaired the usefulness of these features of

Plaintiffs cellular telephone, which are designed to inforin the user of important missed

communications.

       26.     Each and every call placed without express consent by Defendant to

Plaintiffs cellular telephone resulted in the injury of unnecessary expenditure of

Plaintiffs cellular telephone's battery power.

       27.     Each and every call placed without express consent by Defendant to

Plaintiffs cellular telephone resulted in the injury of a trespass to Plaintiffs chattel,

namely her cellular telephone and her cellular telephone services.



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       28.     As a result of the calls described above, Plaintiff suffered an invasion of

privacy. Plaintiff was also affected in a personal and individualized way by anger, stress,

embarrassment, and frustration.

                                        COUNT I
                                 (Violation of the TCPA)

       29.     Plaintiff fully incorporates and re-alleges paragraphs one (1) through

twenty-eight(28)as if fully set forth herein.

       30.     Defendant willfully violated the TCPA with respect to Plaintiff,

specifically for each of the auto-dialer/pre-recorded message calls made to Plaintiffs

cellular telephone after Plaintiff first notified Defendant that Plaintiff wished for the calls

to stop.

       31.     Defendant repeatedly placed non-emergency telephone calls to Plaintiffs

cellular telephone using an automatic telephone dialing system or pre-recorded message

without Plaintiffs prior express consent in violation of federal law, including 47 U.S.0 §

227(b)(1)(A)(iii).

       WHEREFORE, Plaintiff respectfully demands a trial by jury on a11 issues so

triable and judgment against SLM CORPORATION d/b/a SALLIE MAE for statutory

damages, actual damages, treble damages, enjoinder from further violations of these parts

and any other such relief the court may deem just and proper.




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                                 Respectfully submitted,




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